











Opinion issued January 12, 2006











In The
Court of Appeals
For the
First District of Texas
____________

NO. 01–06–00026–CV
____________

IN RE DIANE BULL, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINIONRelator Diane Bull filed a petition for a writ of mandamus


 complaining of the
actions of respondent Gerald Mark Birnberg, chair of the Harris County, Texas
Democratic Party.
&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny the petition for a writ of mandamus. 
PER CURIAM
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Panel consists of Justices Taft, Higley, and Bland.


